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EXHIBIT “OQ”
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FACT SHEET: Claims and Escrow | The White House

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The White House
Office of the Press Secretary

For Immediate Release

FACT SHEET: Claims and Escrow

INDEPENDENT CLAIMS FACILITY
Anew, independent claims process will be created wilh the mandate to be fairer, faster, and more transparent in
paying damage claims by individuals and businesses.

To assure independence, Kenneth Feinberg, who previously administered ihe September 11th Victim
Compensalion Fund, will serve as the independent claims administrator.

The facility will develop standards for recoverable claims that will be published.

A panel of three judges will be available lo hear appeals of the administrator's decisions.

The facility is designed for claims of individuals and businesses who have been harmed by the oil spill; local,
state, tribal, and federal government claims will continue to be handled diractly by BP.

°

The facility will decide all claims as expeditiously as possible, and in any event within the existing statutory
timeframe.

Dissatisfied claimants maintain all current rights under law, including the right to go to court or to the Oil Spill
Liability Trust Fund.

Decisions under current law by the independent claims facility shall be binding on BP.

All claims adjudicated under this facility have access to ihe escrow account for payment.

ESCROW ACCOUNT
BP has agreed to contribute $20 billion over a four-year period at a rate of $5 billion per year, including $5 billion
within 2010. BP will provide assurance for these commitments by setting aside $20 billion in U.S. assets.

BP has reaffirmed its commitment to pay all removal costs and damages that it owes as a responsible parly.
It will nol assert any liability cap under OPA to avoid liability.

The crealion of the escrow account will provide assurance to the public lhat funds will be available to
compensate the injured.

This account is neither a floor nor a ceiling on liability.

The escrow account is to be used to pay claims adjudicated by the independent claims facility, as well as
judgments and settlements, natural resource damage costs, and stale and local response costs.

VOLUNTARY CONTRIBUTION FOR RIG WORKERS

» BP will contribule to a foundation $100 million to support unemployed oil rig workers.

* The Administralion’s May legislative proposal would create a new program of unemployment assistance,
modeled after ihe Disaster Unemployment Assistance Program, to provide benefils to workers who lose their
jobs as a result of a spill of national significance.

ENVIRONMENTAL AND HEALTH MONITORING

+ BP has previously commitled $500 million for the len-year Gulf of Mexico Research Initiative lo improve
understanding of the impacls of and ways to mitigale oil and gas pollution.

« Asa pan of this initiative, BP will work with governors, and state and local environmental and health
aulhorities to design the long-term monitoring program to assure the environmental and public health of the
Gulf Region.

June 16, 2010

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May 16, 2012 4:47 PM EDT

Jon Bon Jovi Helps Young Americans Find
Summer Jobs

Employers have lisled more than 300,000 jobs,
mentorships, and other employment opportunities
through Summer Jobs+

May 16, 2012 3:00 PM EDT

By the Numbers: 2 Million

Nearly 2 million companies that make new hires or
increase wages would receive a tax credit under
the small business hiring income tax credit
President Obama is calling on Congress to pass:

May 16, 2012 1:29 PM EDT

President Obama Visits Taylor Gourmet
President Obama stops by
a Taylor Gourmet
restaurant in Washington,
DC to talk about how his
To-Do List for Congress

would help small business owners.

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